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                           UNITED STATES DISTRICT COURT

                                   DISTRICT OF MAINE




PHILIP RIPTON         )
                      )
v.                    )             CIVIL NO. 1:07-CV-20
                      )
CAMP DRESSER & MCKEE, )
INC., et al.,




                                 ORDER OF DISMISSAL

       This action having been reported settled by counsel on September 26, 2007, and

counsel having failed to file the papers necessary to terminate the action as of record;

       Now therefore, pursuant to Local Rule 41.1(a) this action is DISMISSED with

prejudice and without costs, subject to the right of any party to move to reinstate the action

within one year if the settlement is not consummated.

       FOR THE COURT.

                                                         LINDA L. JACOBSON
                                                         CLERK



                                                           BY: /s/Julie G. Walentine
                                                                Deputy Clerk

Dated this 29th day of October, 2007.
